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         4iI                                                                       DISTRICIOFNEVAM                 ;
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             !                                                                                                     l
         6i                               UNITED STATESDISTRICT COURT                                              1
         7                                     DISTRICT OFNEVADA                                                   I
                                                                                                                   i
         8 IJNITED STATESoyAM ERICA,           )                                                                   i
                                               )                                                                   1
                                                                                                                   .

         9                  Plaintiff,         )                                                                   !
                                               )
        l0        v.                           )      2:10-CR-202-Rl-H (GW F)                                      :
          !!                                   )                                                                   i
        11': ADAM AM ADEO BATTANI,             )                                                                   !
          '!                                   )                                                                   .
        l2'1
          !I
                            Dc fbnd ant.       )
                                               '
        13i!
           :                   PRELIM INARY ORDER OF FORFEITURE
             :
        l4l         ThisCourttindsthaton M arch 2,2O11,defendantA DA M A M A D EO BATTAN Ipled guilty
          :!
        l5:
          -
           i to Count0neofa Onc-countCrim inallnformation charginghim with ConspiracytoCom mitBank
             1   i
        16 i Fraud,M ailFraud,AecessDeviccFraud,and MoneyLaundering,in violationofTitle l8.United
             I   i
        17jI
           1StatesCode,Section371,                                                                                 :
          ii            Thi
        1%:r              sCourtfindsdefendantADAM AMADEO BATTANIagreedtotheforfeiturcofthe j
          11               fbrthin ForfeitureAllegationoftlneCriminallnformation
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        19q:propert
        20   -
                  yset                                                             .
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:            .
                 )      ThisCourttinds,pursuantto Fed.R.Crim.P.32.2(b)(1)and (2),the Unitcd Statesof ;
        2 1.. A m erica has show n the requisite nexusbetw een propely setforth in the Forfeiture Allegation ofthe I
        22 ' Crim inallnformationarldtheoffensetowhich defbndantADAM AM ADEO BATTANIpled guilty. :
        23'.                n
                                 y
                                                        x                                                          I
                 :      Thetollowi ngassetsaresubjecttolorlbiturepursuanttoTitle18,UnitedStatesCode,Section
             '
             .                                                                                       !
        24'
          (1 981(a)(1)(A)andTitle28,UnitedStatesCode,Section2461(c);Title18,UnitedStatesCode,Section I
        251
          1I 981(a)(1)(C)andTitle28,UnitedStatesCode,Section246l(c);litle18,UnitcdStatesCode,Scction !
             i'                                                                                                    j
        26;: ...                                                                                                   E
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         Case 2:10-cr-00202-KJD-GWF     Document 55      Filed 03/02/11     Page 2 of 12

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    I1
     I
       982(a)(1);zitle18,unitedstatescode,section982(a)(2)(A);TitleI8,unitcdstatescode,section
2i
 j!
  j 982(a)(2)(B);andTitle 18,United StatesCode,Section l029(c)(1)(C):
3.
 )
  )                        COM PUTERS;
 2(
4!                   1.    HP Pavilion Laptop,M odelDV7-3085DX,SN :VM 188UA#ABA ;
51!                        Sony V aio Laptop, M odelV GN -N W IZSJ/T.SN :13282 17738-K.;
 1i  ,
6;I                        SonyVaioLaptop,ModelVGN-NWI25.
                                                        1/T,SN:1728217738-K-3025121)
1i
 1l
  I                        SonyVaioLaptop, M odelVGN-SR4ZOD/H,SN:1727501281;
8!
 II
  :                        Sony Vaio Laptop,M odelVGN-FW 48OJ/T,SN 1728215734-K:
9.i                        ToshibaLaptopSatellite, M odel1
                                                         42 15-55837,SN :58189516K ;
                           Sony V aio Laptop,M odelPCG -71731-,SN :CG 0lKZ32'
                                                                            ,

                     8.    Sony V aio Laptop,M odelPCG -4N 11-,SN :JOOZZA V T;
                     9.    Psion Series 5 Handheld Com puter,SN K C004D6300N 2P.
                                                                               .

                           ToshibaSatelliteM 35X-S1l4,SN 55246387K (Storage);
14ï
  !i                       C O M PUTER PRIN TER S:
   i
15II
   i                       VersajetteM 400.V8AllinOnePrinter,M odel726-1910,SN:06470382003;
16iI                       VersajetteM400A11inOnePrinter,Model//726-1800.SN:2l260490763k
     4.
17i:                       H P PSC2410 A lIin OnePrinter,M odelSDG OB-0301-02,SN :M Y 3BFG 3SBV ;

18j:
   !                 14.   H P Photosm artC4280 A Ilin O ne Printer,N o M odel#,SN :M Y78M -
                                                                                           FNOZB'
                                                                                                ,
19i;                       l-lPPSC1610AIlinOnePrinter,M odelSDGOB0401-01.SN2M YS-/QF3OCT;
  (I
   ,
20'j                       H P 125C2355A l1in O nePrinter,M odelSDGO B-04()l-02,SN :M Y S32F2lW F;
21rp
   '                       VersajetteM 300Printer,Model4137-001,SN:15510684691;
  l
2211                 18. HP Deskjet6940Printer,M odelC8970A,SN:M Y840CR1B8;
  ë1
23,ï
     t
                     19, llP LaserjetP1006Printer,SN:VN173414740)
24
     7
                     20.   Lexmark 4300 (1743l0)Printer,M odel4115-001,SN:07490277383;
25                         Zink Vcrsaink N ano Cartridges;
                           A lIcablesand m anuels for eleclronics/phones'
                                                                        ,
     Case 2:10-cr-00202-KJD-GWF    Document 55       Filed 03/02/11   Page 3 of 12




                       C AM ER AS:
                       Canon Pixm a IPl500 Printer,M odelK 10240.SN :4112TTS,
                                                                            '
                       Sipix ,4.6 PocketPrinter,SN :(217014551;
                       M ISC ELLA N EO U S IT EM S:
                 25.   C anon Pow ershotSD 850lS Cam era,SN :4727011310;
                 26.   Casio Exilim 8.1 M ega Pixels EX -Z8OA Cam era,SN :3 1070243-
                                                                                   4;
                       (57 Productivity System s Check Reader,SN :SN A04L4L5)

                       Apple Ipod 80G B,SN :811G481394V917;
9                29,   Applelpod6GB Nano,SN:JQ5207NPS42;
                       CU R REN C Y :

                 30.   2,085 Euroswhich convertto $2,998.65 USC;
                       $155.00 Canadian Dollarswhich convertto $152.60;
                       $2l,000 Lebanese Poundswhichconvertto S13,82;
                       $5.00 Jordanian Dinarswhich convcrtto $7.00;
                       $1.00 Saudiwhich convertto $ .26,
                                                       .
                       C ELL PH O NES:

                       M otorola cellphone,M odel#C290;
                 36.   Sam sung cellphone,M odel#SC HA ;
                       M otorola cellphonc #C290;

                       N okia cellphone,#714-825-5320,M odel/82604
                       M otorola cellphone,M odel#1llD T56IlC 1,1C 1090-H Cl;
22               40.   N okia cellphone,M odel#6030,SIM Card 7-4850123;
                       N okia cellphone,M odel//3120,SIM Card 267028)
24                     N okia cellphone,#323-218-l108,M odel*2125)
25               43.   Sam sung cellphone,#714-376-2914,M odel#SPH M 8IO;
                       N okia cellphone,M odel#7270,SlM Card 0C 52,3;

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                    Case 2:10-cr-00202-KJD-GWF       Document 55      Filed 03/02/11    Page 4 of 12
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         1                        45.   N okia cellphone,//5-606-6545,M odel#1661)                     I
            2i                                                                                         .
        2lI
          l                       46. Motorolacellphone,Model#V60;                                     .
         3                        47.   N okia cellphone,M odel//8801;
            I
        41                        48. Nokiacellphone,#424-644-5099,M odel#2760;
         5!
          '                       49.   N okia cellphone,M odel//1661,SIM Card 9-209-7190;             .


         6I
          iI
           I
           :                      50.   N okia cellphone,//7-253-6359.M odel#6030,267028)              i
                                                                                                       !
         7                        51.   N okia cellphone,//323-667-4705-M odel//2125;                  .
         8.'                      52.   N okia cellphone,#7-561-2930,M odel#6010,63512.
                                                                                      +;               '
          :!                  ,

         91i
           '                      53. Nokiacellphone,//323-55l-7566,Model$5310;                        i
        10iI
          :.                            SIM A N D SD CA R DS:
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            '   .
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        11 '.
                                  54.
                                        ScanDiskCruzerMicro2.0GB,SN:BE06063BB;                         j
                                                                                                       I
        12                        55.   Canon SD 16M M em ory Card R 05153W R and case;
                                                                                                       I
        13                        56.   TransendSD 2GB,SN:229070-9437;                                 I
                                                                                                       i
        14                        57.   Scan D isk 2.0G B SD Card,SN 1BE 0609802661D;                  i

        15 ,                      58.   Scan D isk U ltra 114G B A D Card,SN :BH ()7142 ll7820)

        16'
          Ei
           i
                                  59.   LexarMedia128M B CompactFlash,NoSN;
        17                              C ASH IER S A N D O FFICIA L CH EC K S
        18                        60.   Valz M aldy -08/02/2007,$336.57;
        l91                       61.   Radov lwobarow -09/20/2006,$3,385.21;
            !I
                '
        20:2                      62.
                                        GerfyMaldy -07/12/2007,$863.71;                                l
            l
            i   .                                                                                      ;
        21E                       63.   BabilLisky -08/16/2006,$3,801.584                              .
            '
I       22                                                                                             !
          :                       64.   Zak Labarow -09/20/2006,$l,32l.06;                             :
        23'i                      65.
            i                           LezanLisky -08/08/2006,$450.30;
        241                       66. Zink Labarow -09/14/2006,$3,252.864
          I
        25Ii                      67. WashingtonM utualchecktoBabileI-isky-07/13/2006,$117.21;         1
!         :!                                                                                           ,

        26;
          i'
           l                      68.   WellsFargochecktoVarazLisky-04/05/2010,$18.17)                 :
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         i               69.   W ellsFargochecktoQavalLisky-03/09/2010,$984.16;                   '
        2                70. BankofAmericacheck(*2948)toEratS.Oveel03/10/l0,$25;                  )
                                                                                                  .



        3                71.   Bank ofAmericacheck (#2949)toEratS.Oveel03/10/10,$25;
         i,
          !                                                                                       I
        4'
         '
                         71.   AM EX check to Lavik Barazm an -01/26/2010 $8,974,14)              :
          :                                                                                       )
        5                73.   W ellsFargo check to Barok Barazman -02/04/2010,$60.34)            ;
        6j:
          ,              74.   W ellsFargo check to Robeto M aldy -03/23/2010,$6.25;              !
         I!                                                                                       ;
        71!              75, WellsFargochecktoVedalOveel-03/23/2010,$7.00;                        I
         !!                                                                                       E
        8..              76.   ChasechecktoLevan Hsajsam -03/05/2010,$50.00;                      j
         '                                                                                        1
        9'               77.   ChasechecktoLevan Hsajsam -03/05/2010,$145.69;                     :
         :.
        10!!
           '             78. ChasechecktoClavoHsajsam -12/24/2009,$72.05;                         I
                                                                                                  !
         :

        11               79,   Bank ofAm ericacheck to R'
                                                        om ak Vadaros01/1l/l0,$2,679.16)          '
        12               80.   lntermountain Bank check to Beday Rachidia 02/14/2007.$300.594

        13                     FICTICIOUSDRIVERSLICENSES:                                         j
        14               8l.   Drivers License:PIRY A V N ,IVA R K OIA V -CA D L X -6365;         !
        15               82.   Drivers License:SARON RESS LIN O D EM EET -CA D L X -3590;         !
        16ri .           83. DriversLicense:CI-IAVOR N.NERGA -CA DL X-4756)                       1
                                                                                                  I
                                                                                                  :
1       17'              84. DriversLicense:SEROVP.NOVERDYAN -CA DLX-5320)                        I
!
:       18               85.   Drivers License:GN A VO R C.EC HIG -CA D L X -2178;                '
        19               86.   Drivers License:TIRA S N .V IKA KA RO V -CA D L X -7867;
        20               87.   Drivers License:REYAB F.ElZ PETYA R -CA Dl-X-4654;
        21               88.   Drivers License:IZA R V.IVA ID EZEL - CA D L X -6356;
        22               89.   Drivers License:OV A T ZA IR VIN C TA M IN -CA DL X -7586;
        23               90.   Drivers License:V NO A SK M A LO K SH A KD ETA V -CA DL X -6870)
        24               91.   Drivers License:EG A K Y RA CIIEZM A N -CA DL X -8912;
        25               92.   Drivers License:YO TOV D .CH ENZ -CA D L X -l090;
        26               93.   Drivers License:TA ZIN RIN V M A TY N IN A R -CA D L X -4657;

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                 Case 2:10-cr-00202-KJD-GWF        Document 55     Filed 03/02/11   Page 6 of 12
        'II1                                                                                               '
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          iI                                                                                               2
          Ii                                                                                               :
           1
          ii                 94        o
         l:j                   .           riversLicense:VARAK L.BARAZM AX -zx ol-x-2413:
        2I1                  95.       DriversLicense:ANAN L.VARADOS (VADAROS)-TX DL X-2334)
         i!
        3jI
          :                  96.       D rivers License:FA V EK T.ZLAN A KTO -N V DL X-5378:
         ii
        4E                   97.       DriversLicense:ZALAV V,ON AL SOVO -NV DL X-5656'
                                                                                      ,
          li
         51I                 98, DriversLicense:EVAR D,ZOVO LAVIN -NV DLX-7677)
          L$ .                                                                                             i
        6'                   99,
          l                            DriversLicense:CHALIKL.DONMAN-NVDIvX-0989.
                                                                                ,                          j
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                                                                                                           -
         7i:                 100. DriversLicense:IKAZ V,MIVEEL-lnternationalDLX-0455)
          j1                                                                                               l
         8t
          .i                 101   .   DriversLicense:IZEN M IVEEL -InternationalDIv(nonumber);            1
             .                                                                                             i
         9                   102. Drivers License:VA LZ K .M A LD Y - lnternationalDL X -5202;             .
                                                                                                           '
          iI
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          1
          !                  103   .   orivcrsLicenscslo ïa o vls.M EvlL/Ko Rtlvls.M EvIl.--lnternationalDL i
        11 '                           X -3434;

        12i;                 104. DriversLicense:TALAV V,MICAL -lnternationalDL X-4309$
          :I                                                                                               -
                                                                                                           '
        1311                 105. DriversLicense:LAvlK.B.BARAZMAN -IntcrnationalDL.
                                                                                  x-54324
             I
        1411                 106. DriversLicense:BAKVICH L.MIVEEL-InternationalDLX-4309:                   I
        15                   107. Drivers Izicense:ARLITZ K .LISK Y -InternationalD L X -3142.
                                                                                             ,             :
                                                                                                           I
        16                   108. DriversLicense:ROBEFI'O TANIAS M ALDY -Copy Ot-NV DL X-3379$             I
        17                   l09. DriversLicense:INAV N.VERA -CA DI-X-43544                                !
        18                   110. Drivers License:IC HV N .IG ON V A KA -CA DL X -6566;                    :
                                                                                                           !

        19                   11l. Drivers License:DEVA R S.CIK O V GRIZ -CA D L X -1309;                   1
                                                                                                           .


        20:                  112   .   Drivers License:SEI-ED ELEG EC ITS RA CI-CA D L X -5653;
          :                                                                                                1
        21.                  113.      DriversLicense:RENAL D.ORAV DEVAN -CA DL X-1323;                    !
                                                                                                           :
'

        22                   114                                                                           j
                                   .   Drivers License:IN A G V.A CHK D EIV -CA D L X -4569)
                                                                                                           1
        23                   115. Drivers License:GN A R D .OV OK M EY A D -CA Dl-X-90 l2;
        24                   1l6. Drivers Licensc:VIH A N .D ERN SOI.A -CA D1,X -3545.
                                                                                     ,                     !
                                                                                                           I
        25                   117. Drivers License:DEREV V .ZORN O V -CA D l,X -5430;

        26:i                 118. DriversLicense:RENAZ D.I,EYANV -CA DI,X-5434.
                                                                              ,                            i
          i!                                                                                               1
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           !                                                  6                                            ,
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     Case 2:10-cr-00202-KJD-GWF     Document 55     Filed 03/02/11    Page 7 of 12




                        Drivers License:K ED A M .IRA V ZYA R -CA D L X -3241;
1j1
2lt                     Drivers License:A V W AN Z.LOBA ROW -CA DL X -2585;
 .
     I
3I                      D rivers License:ERAT S.EI'
                                                  IN S OV EEL -CA D L X -3680;
 ii
4!I              122. D rivers License:O IRR IRAM SA W A TAIW -CA D IxX -469():
 I'
5                123. D rivers License:EV EES NIRA SAR Y EW O L -CA DL X -4657
6                124. D rivers License:A SRA D M A EK LLUN EEFD -CA DL X-5676:
                        D riversLicense:RA CH E.O VA REZ -CA DL X -6354;
                 126, D riversLicense:IN A R N .R ADA V O RI-N V D l.X -5790;
                 127. D riversLicense:D IN YA R V ,JEDA H FNA R -N V D L X -5465:
                 128. D riversLicense:ITYA N F.RO ON V O YA G -N V D L X-5797;
                 129, D riversLicense:CIYA M N .CH O RA REHTO -N V DL X -67864
                 l30. Drivers License:UJESA M ED W A RD ELM CIIID IEII-N V ID X -2394;
                        SO C IA L SEC U RITY CA R DS:

                        SocialSecurityCard:ALMAN DKAD RACHIDIA -X-8178;                   I
                 132.   SocialSecurity C ard:A YM AN A H M A D ELIA SA D I-X -6735)       !
                                                                                          l
                 133.   SocialSecurity Card:A YM AN A SA DIELA M N EE -X -9347)           '
                 134. SocialSecurityCard:ASADIEW ESAM ALlAHMAD -X-0907;                   1
                                                                                          1
                 135. SocialSecurity Card:A SA D IEA YM AN A LlA HM AD -X.-0453;
                        SocialSecurity Card:A YM A N A D A M M AJAD AM N E -X -8225)
                        SocialSecurity Card:A RM AN A BM A O L ELIA SA O LI-X -6067:
                 138. SocialSecurity Card:A IIM A D ELA SA D IA Y M AN -X -4043)
22               139. SocialSecurity Card:LEZAN EDELL LISK Y -X-2261;
                 140. SocialSecurity Card:U JESA M ELH SA DIA M N EE -X -1279;
                  141. SocialSccurity Card:A M NN E M U HA M A D A LSA LIN -X -9007;
                  142. SocialSecurity Card:U JESA M ZA H RA CH ID IEH - X-4068;
                        SocialSecurity Card:M O HA M M ED SA M IR EL BA TTA H - X-l015:
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                 144. SocialSecurity Card:A RM AN A M N E EL-R ACIIID IEH -X -9678;
                        SocialSecurity Card:U JESA M EL-A SA D IEL-RA CHID IA -X -6211;
                 146. SocialSecttrity Card:ETA H M A P W ESD N FA D IBA SA D IN -X -4265;
                 147, SocialSecurity Card:ALM AN EG AK Y OV A R EZ ELRACH ID IA -X -1654;
                 148. SocialSecurity Card:ALM AN EGA K Y EZ EL-RACH ID IA -X -9771;
                 149. SocialSecurity Card:A YM AN A D AM O R ELBO RW A V -.
                                                                          X.-0368;
                        SocialSecurity Card:A DA M O R ELAM N E ELBOR W A V -X-5883;
                        SocialSecurity Card:AYM AN M YASAR AHM AD ELASADI-X-6907;
                                                                                            ?
                 152. SocialSecurity Card:W ISSAM N EW A L A H M ED EL-A SA DI-X -0024:     .
10.7             153. SocialSecurityCard:W ESAN ALTMAD ALASADI-X-0018)                      I
                                                                                            :
11               154. SocialSecurityCard:AVAD UJESAM ALHSAOI-X-0227;                        !
                                                                                            I
12                      C RED IT CA R DS:                                                   l
                        CreditCard:VEYA D R ON O V -Chase X -2641;
                        CreditCard:IV A R M A LD Y -Chase X-3933;
                        CreditCard:IN A R V ()RI-Chase X -8831;
                 l58. CreditCard:IN A R V ORI-Chase X -7031;
                 159, CreditCard:VA LA K R ON OV Chase X -15454
                  l60. CrcditCard:IVAR KOIAV Chase X-2301;
                  161. CreditCard:LA VIK BARZ M AN Chase X -2022)
                        CreditCard:K ORM A IR LISK Y Chase X -7955;
                        CreditCard:KA FAL M A DN Y W ashington M utualX-00l2;
                  164. CreditCard:A DA M BA TTAN IW ashington M utualX-00l7)

                  l65. CreditCard:QAVAL LISKY -BankofAmericaX-0103;
                  l66. CreditCard:O VA T TAM IN Bank ofAm erica X -0398.
                                                                       ,
                  167. CreditCard:IN A R V OR.
                                             IBank of Am ericaX -5147;
                  168. CreditCard:IN A R V OR IBank of Am erica X-3253'
                                                                      ,

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'       Case 2:10-cr-00202-KJD-GWF     Document 55     Filed 03/02/11    Page 9 of 12
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    h
 1                   169. CreditCard:VEDAL OVEEL BankofAm ericaX-30544
 2!t                       CreditCard:D ERO V EZEL Bank ofA m erica X -1349)
                           CreditCard:SELA B LISKY FirstPrem ier.
                                                                X -4262;
                     172. CreditCard:PIRYA V K OIA V U nk bank debitcard X -57304
 5                   173. CreditCard:V ED A L OV EEL W clls Fargo X -0630;
 6                   174. CreditCard:V ED A L OV EEL W ells Fargo X -4l89;
                     175. CreditCard:RO BERTO M A LDY W ellsFargo X -4083)
 8.;                       CreditCard:TOV A R BA R AZM AN CaptialOne X-3556;
                           CreditCard:BEDA Y RA CHIDIA -H SBC X.-88374
                     178. CreditCard:TOM A K V A DA RO S ZalesX -0942;
                     l79. CreditCard:YO KA L BA RAM A N BcstBuy X -7270;
                     180. CreditCard:LAV A DO M IV EEL BestBuy X-1324;
                     181. CreditCard:A .A .A SSA DIN ationalCity GittCard X -2235;
                           CreditCard:A Y M AN AH M AD EL-ASSA DI-W ells Fargo X-2601;
                     l83. CreditCard:A D AM BA TTA N IW ells Fargo X -9637;
                     184, CreditCard:ADAM BATTAN IW ellsFargo ATM card X-0514;
                     185. C reditCard:A DA M BATTA N IW cllsFargo X -0500;
                     186. CreditCard:A D AM BA TTA N IO rchard Bank X -2596;
19II                 187. CreditCard:ADAM BATTANIClnaseX-2409;
20j!                 l88. CreditCard:SAM BATTANIW ashington M utualX-00l5)
   j.

2j!iê'
                     l89. CreditCard:SA M BA TTAN IW ells Fargo X -6 108;
2211
    ii
                     l90. CreditCard:SAM BATTANIW ellsFargo X-6403;
    :;
23:!                 191. CreditCard:SAM BA TTAN IBuy RightX -1440;
  !I
24ii
  II                 192. CreditCard:SAM BATTANIW ellsFargo X-6108;
25!I                 193. CreditCard:SAM BATTANIW ellsFargo X-0393;
  .i

  ii
26I                  194. CreditCard:SA M BA'1''I'AN IW ells Fargo X -7887;
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             Case 2:10-cr-00202-KJD-GWF
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                                            Document 55     Filed 03/02/11   Page 10 of 12           '
    a   .    :

             lj                                                                                      '
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            1;;           195. CreditCard:SAM BATTANIAmexX-1004;                                     1
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            2.
                          196.   CreditCard:SAM BATTANICircuitCity Card X-2538'
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            3)            197, CreditCard:SA M BATTAN IA spire V isa X -6885)                        ,
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             !
              5  '
                          l98. CreditCard:SAM BATTANITargetCardX-l89l;                               i
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            511
             21
                                 CHARLESSCHWABBANKACCOUNTS;                                          l
                                                                                                     '
            6E1           199. CharlesSchwabbank accounts:s 308.69 -BlinsSalk, A ccountsX -8255.     :
             j'
             g
            721
              .                  x 4353;
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            8.            200, CharlesSchwabbankaccounts:ss-/l.83-ClavoHsajsam,AccountsX-l344, i
            9                    X -3823;
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           l              20l, CharlesSchwabbankaccounts:$209,20-ChalikDonman,AccountsX-0723:
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        11ir                     X-7330;                                                             ;
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           l              2,02. CharlesSchwabbankaccoun1s:$2,984.86-VeranRachidia,ActrountsX-1710;

        l3I
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           .              203. CharlesSchwab bank accounts:$242,9l-Tilaz M evil,AccountsX-4998$
!            j:
:       1411                     x-0957;
             !I
        15!1              204.   CharlesSchwabbankaccounts:$129.91-Lamazikvadaros,AccountsX-1509.
                                                                                                ,
          !'
        16:'                     X- 5538.

        l7.. '
                                 CA R S:
                                                                                                     !
        18                205. 1999 M ercedes-W hite,Tag 4C7 1.543,Vm W D Bl7A 68Fl73289)
        19                206. 2002 M ercedes-Black,Tag 4V UP528,VIN W 138P.175,4024232;             .
        20                       w ELLS FA RG O Ac c o u xTs:
        21                207. W cllsFargo bank accountsrs3,313,64 -Sam Battani,AccotlntX-7022;      :
        221
          ,!              208 W ellsI'argobankaceounts:$345.90-RobetoM aldy,AccountX-8405;
                             .                                                                       I
             i
                 j                                                                                   '
        23!i              209. WellsFargobankaccountsrsl,919,18-VedalOveel,AccountX-7720.
                                                                                        ,            1
        24j.                     SHOT GUN:                                                           I
             !!                                                                                      I
        25                2 l0. RossiD ouble Barreled ShotGun Sm RG .R I7862:
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        26;i ...
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      Case 2:10-cr-00202-KJD-GWF             Document 55         Filed 03/02/11     Page 11 of 12
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     11                          M ISCELLANEOUS FROM STORAGE:                                                       !
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     2':                 2l1 HPScanjet4070PhotosmartScanner'
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     3I                                                                                                             i
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      Il
                         212. M otorola Cellphone'
                                                 ,                                                                  $
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     41
      I                  213.    US $20 dollarbill;                                                                 (
      I;
     5i.                 214. 2 H alfSilverD ollarsvalue total;                                                     i
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     6:!                 215.    5 Silver Dollarsvalue total;
     7ii                 216 .   4 JFK Liberty Dollars value total;                                                 :
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     8i.                 217. MiscLebanesecurrency-USdollaramount$20.94)                                            ;
      iI
     9!                  218. 3 x 3.5 inch lloppy discs;                                                            '
    10!
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       '                 219 .   l D VD disc;and                                                                    j
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       .                 220        .                                                                               '
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                                 anlnpersonam criminalforfeituremoneyjudgmentupto                                   (
    121I
       .          $438,718.00inUnitedStatesCurrency.                                             :
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    l3II
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                  ThisCoul'tfindsthe Unitcd StatesofAmericaisnow entitledto,and should,reducethe I
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    14i
      1I
       ! aforementionedpropertytothepossessionoftheUnitedStatesofAmerica        j      .



    15:          NOW THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DECREED thatthe j
    16li:United StatesofAmericashouldseizetheaforementionedproperty            .1
                                                                                                     :
    17:           IT IS FU RTH ER O RD ERED,A DJUD G ED ,AN D DEC REED al1right.titlc,and intcrestof I
      i2
       '                                                                                                            :
    l8' A DA M A M AD EO BA TTA N Iin the aforem entioned property is forfeited and isvested in the United i
      '                                                                                      I
    19li statesofAmericaandshallbesafelyheldbytheUnitedStatesofAmericauntilfurtherorderofthc !
       .
      ù:
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    20( Court.
       I
    21lq       IT IS FU RTHER ORD ERED          ,   AD JU DG ED ,AN D DECREED theU nited StatesofA m erica
    22 j shallpublish fbratleastthirty(30)consecutivedayson theoflicialinternetgovernmentforfeiture :
      i;
    23II w'
      l:
           ebsite,www.lbrfeiture.zov,noticeofthisOrdcr,whichshalldescribetheforfeitedproperty.state
    24 . the tim e underthe applicable statute w hen a petition contesting the forfeiture m ustbe tiled,and state
      .:

!   25 . thenameandcontactinformation forthcgovernmentattorneytobeservedw'iththepetition,pursuant
       :
    26 . to Fed.R.Crim,P.32,
                           2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2).

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      II                                                                                                            I
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         Case 2:10-cr-00202-KJD-GWF        Document 55         Filed 03/02/11   Page 12 of 12
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     1j'         ITISFURTHERORDERED, ADJUDGED,AND DECREED apetition,itaany,mustbetiled I
                                                                                       j
     21! with the Clerk ofthe Court, 333 LasV egas Boulevard South,Las V egas,N cvada 89101.                 I

     31!         IT IS FURTH ER O RD ERED ,A DJU DO ED ,AN D DECREED a copy ofthe petition,ifany, p
      i'
       :                                                                '                                    l
     4 shallbc served upon the AssetForfeiture Attorney of-the United States Attorney's Orfice atthe I
      IE                                                                                                     !
     5.. tbllowing addressatthetime oftiling:                                                                1
       I
     6.                M ichaelA ,Hum phreys                                                                 r
                       A ssistantUnited States Attom ey                                                      y
     7Ii               DanielD. Hollingsworth                                                                l
      !:               A ssistantUnited States Attorney                                                      i
     8ii               Lloyd D.GeorgeUnited StatesCourthouse
      iI
      I                333 LasVegasBoulevard South, Suite5000                                                i
     91i               I-asVegas, N evada 89101.
      I!
    10           IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thc noticcdcscribed herein ;
      !I                                                                                                     y
      1; need notbe published in the eventa Declaration ofi'
                                                           -orfeiture isissued by the appropriate agency     '
    11i
    l21
      'i
       i following publication ofnoticc ofseizureand intentto adm inistratively forfeitthe above-described   '

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    131 property.                                                                                            l
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    14I1         DATED this           dayof                         ,2011.                                   l
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